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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

IN RE:          VIP PHARMACY, INC.,                         :      Chapter 11
                                                            :
                                      Debtor                :
                                                            :      Bky. No. 21-10428 ELF
                                                                                :

            ORDER SETTING DEADLINES
        AND NOW, upon Debtor’s motion, it is hereby ORDERED that:

1.   MAY 21, 2021 is the DEADLINE for the filing of all CLAIMS and
     INTERESTS by creditors and equity security holders (“the Bar Date”) EXCEPT for
     those persons and entities described in Paragraphs 2, 5, 6 and 7 below.



2.   August 23, 2021 is the DEADLINE for the filing of ALL CLAIMS AND
     INTERESTS OF GOVERNMENTAL UNITS.


                                PLEASE TAKE NOTE:

                THE FAILURE TO TIMELY FILE A PROOF OF CLAIM OR INTEREST
                MAY RESULT IN THE LOSS OF

                       •    THE RIGHT TO VOTE ON ANY PROPOSED PLAN OF
                            REORGANIZATION

                       •    THE RIGHT TO SHARE IN ANY DISTRIBUTION OF MONEY
                            OR PROPERTY FROM THE BANKRUPTCY ESTATE OF THE
                            DEBTOR




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3. Proofs of Claims or Interests may be filed with:

                             Office of the Clerk,
                             U.S. Bankruptcy Court
                             900 Market Street - 4th floor
                             Philadelphia, PA 19107.

4. Proofs of Claim mailed or delivered to the Office of the Clerk (“the Clerk”) or
   electronically filed with the Clerk will be deemed timely filed only if actually received
   by the Clerk on or before the Bar Date.




5. THE FOLLOWING PERSONS OR ENTITIES ARE NOT REQUIRED TO FILE A
   PROOF OF CLAIM ON BEFORE THE BAR DATE:

a.                any person or entity;

                     (i) that has already properly filed a Proof of Claim against the Debtor
                         with the Clerk of the Court for the United States Bankruptcy Court for
                         the Eastern District of Pennsylvania; or

                     (ii) whose claim is listed in the Debtor’s schedules of assets and liabilities,
                          list of equity holders, and statement of financial affairs (collectively,
                          the “Schedules”) or any amendments thereto, and

                                 (a) whose claim is NOT described therein as “disputed,”
                                      “contingent,” or “unliquidated,” and

                                 (b) who does NOT dispute the amount or classification of its
                                      claim as set forth in the Schedules;

b.                any person or entity whose claim against the Debtor has been allowed by
                  an Order of the Court entered on or before the Bar Date or that has been paid
                  with court authorization before the Bar Date;

              c. any person or entity that asserts an administrative expense claim against
                 the Debtor pursuant to section 503(b) of the Bankruptcy Code; EXCEPT
                 THAT, a person or entity asserting an administrative expense claim against
                 the Debtor under section 503(b)(9) of the Bankruptcy Code SHALL FILE
                 A CLAIM by the Bar Date set forth in Paragraph 1.




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               d. professionals retained by the Debtor pursuant to Orders of this Court who
                  assert administrative claims for fees and expenses subject to the Court’s
                  approval pursuant to sections 330, 331 and 503(b) of the Bankruptcy
                  Code;


6. ANY CLAIM ARISING FROM THE REJECTION OF AN EXECUTORY
   CONTRACT OR REJECTION OF AN UNEXPIRED LEASE SHALL BE FILED ON
   OR BEFORE THE LATER OF:

               a. May 21, 2021; or

               b. thirty-five (35) days after the effective date of the rejection as set forth in
                  the order of rejection.




7. IF THE DEBTOR AMENDS THE SCHEDULES AFTER THE DATE OF THIS
   ORDER, to designate any claim as contingent, unliquidated or disputed, or amends the
   Schedules to reduce the amount or classification of a Claim previously listed:

               a. the Debtor shall forthwith provide notice (“the Amendment Notice”) to the
                  Claimant of the amendment(s), describing with particularity the prior
                  classification and amount of the claim originally set forth in the Schedules and
                  the changes thereto resulting from the amendment;

               b. the Claimant shall have until the later of the Bar Date or thirty-five (35)
                  days after service of the Amendment Notice in which to file a proof of
                  claim.



8. On or before April 13, 2021, the Debtor shall serve on all creditors, interest holders and
   other parties in interest, including all persons and entities who have filed an entry of
   appearance or a request for notices under Fed. R. Bankr. P. 2002, or parties entitled to notice
   under Fed. R. Bankr. P. 2002(j), copies of:

               a. this Order; and

               b. a Proof of Claim Form that conforms substantially to Official Form No. 10.




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9. For purposes of Paragraph 8, the date of the Order shall be the “Record Holder Date” i.e.,
   the date used to determine which holders of claims and interests shall be entitled to receive
   notice of the Bar Date and to vote on the Plan.


10. Promptly after complying with the service requirements of Paragraph 8 above, the Debtor
    shall file a Certification of Service therefor.




Date: April 7, 2021                  _____________________________________
                                     ERIC L. FRANK
                                     U.S. BANKRUPTCY JUDGE




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